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                                     UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION

 IN RE: DAVOL, INC./C.R. BARD, INC.,
                                                                    Case No. 2:18-md-2846
 POLYPROPYLENE HERNIA MESH
 PRODUCTS LIABILITY LITIGATION
                                                                    CHIEF JUDGE EDMUND A. SARGUS, JR.
                                                                    Magistrate Judge Kimberly A. Jolson



 This document relates to:
     Edward Molloy
                                                                    Civil Action No._________________
                                                                                     2:18-cv-00912




                                           SHORT FORM COMPLAINT

          Plaintiff(s) file(s) this Short Form Complaint pursuant to Case Management Order No. ___
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and is/are to be bound by the rights, protections, and privileges and obligations of that Order.

Plaintiff(s) hereby incorporate(s) the Master Complaint in MDL No. 2846 by reference.

Plaintiff(s) further show(s) the Court as follows:

1.        The name of the person implanted with Defendants’ Hernia Mesh Device(s):
          Edward Molloy
          ___________________________

2.        The name of any Consortium Plaintiff (if applicable):
           N/A
           ___________________________

3.        Other Plaintiff(s) and Capacity (i.e., administrator, executor, guardian, conservator):
          N/A
          ___________________________

4.        State of Residence:
           FL
          ___________________________

5.        District Court and Division in which action would have been filed absent direct filing:
           United States District Court for the Middle District of Florida
          ___________________________________________________________
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6.   Defendants (Check Defendants against whom Complaint is made):

           A. Davol, Inc.

           B. C.R. Bard, Inc.

           C. Other (please list: ______________________________________________)

7.   Identify which of Defendants’ Hernia Mesh Device(s) was/were implanted (Check
     device(s) implanted):

           3DMax Mesh

           3DMax Light Mesh

           Bard (Marlex) Mesh Dart

           Bard Mesh

           Bard Soft Mesh

           Composix

           Composix E/X

           Composix Kugel Hernia Patch

           Composix L/P

           Kugel Hernia Patch

           Marlex

           Modified Kugel Hernia Patch

           Perfix Light Plug

           PerFix Plug

           Sepramesh IP

           Sperma-Tex

           Ventralex Hernia Patch

           Ventralex ST Patch

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           Ventralight ST

           Ventrio Patch

           Ventrio ST

           Visilex

           Other (please list in space provided below):
           Bard Mesh Pre-Shaped with Keyhole
           _______________________________

           _______________________________

8.   Defendants’ Hernia Mesh Device(s) about which Plaintiff is making a claim (Check
     applicable device(s)):

           3DMax Mesh

           3DMax Light Mesh

           Bard (Marlex) Mesh Dart

           Bard Mesh

           Bard Soft Mesh

           Composix

           Composix E/X

           Composix Kugel Hernia Patch

           Composix L/P

           Kugel Hernia Patch

           Marlex

           Modified Kugel Hernia Patch

           Perfix Light Plug

           PerFix Plug



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             Sepramesh IP

             Sperma-Tex

             Ventralex Hernia Patch

             Ventralex ST Patch

             Ventralight ST

             Ventrio Patch

             Ventrio ST

             Visilex

             Other (please list in space provided below):
             Bard Mesh Pre-Shaped with Keyhole
            _______________________________

            _______________________________


9.    Date of Implantation and State of Implantation: __________________________
                                                      08/06/2007 (FL)



10.   As of the date of filing this Short Form Complaint, has the person implanted with
      Defendants’ Hernia Mesh Device(s) had subsequent surgical intervention due to the Hernia
      Mesh Device(s)?:     Yes____       No____


11.   Basis of Jurisdiction:

             Diversity of Citizenship

             Other: __________________________________

12.   Counts in the Master Complaint adopted by Plaintiff(s):

             Count I – Strict Product Liability- Defective Design

             Count II – Strict Product Liability- Failure to Warn

             Count III – Strict Product Liability- Manufacturing Defect

             Count IV– Negligence


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              Count V– Negligence Per Se

              Count VI– Gross Negligence

              Count VII – State Consumer Protection Laws (Please identify applicable State
              Consumer Protection law(s)):
     R.I. Gen. Laws §§ 6-13.1, et seq
     N.J. Stat. Ann §§ 56:8-1, et seq
     Fla. Stat. Ann. §§ 501.211 et seq.


              Count VIII – Breach of Implied Warranty

              Count IX – Breach of Express Warranty

              Count X – Negligent Infliction of Emotional Distress

              Count XI – Intentional Infliction of Emotional Distress

              Count XII – Negligent Misrepresentation

              Count XIII – Fraud and Fraudulent Misrepresentation

              Count XIV – Fraudulent Concealment

              Count XV – Wrongful Death

              Count XVI – Loss of Consortium

              Count XVII – Punitive Damages

              Other Count(s) (please identify and state factual and legal bases for
              other claims not included in the Master Complaint below):




              Jury Trial is Demanded as to All Counts

              Jury Trial is NOT Demanded as to All Counts; if Jury Trial is
              Demanded as to Any Count(s), identify which ones (list below):




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                                                C. Brett Vaughn
                                           s/
                                                         Attorney(s) for Plaintiff
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